                              Case 19-01291-SMG                       Doc 267           Filed 06/05/22              Page 1 of 7
                                                              United States Bankruptcy Court
                                                               Southern District of Florida
Mikles,
      Plaintiff                                                                                                        Adv. Proc. No. 19-01291-SMG
Carlson,
      Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 113C-0                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Jun 03, 2022                                               Form ID: pdf004                                                           Total Noticed: 13
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 05, 2022:
Recip ID                 Recipient Name and Address
ust                    + Guy Van Baalen, DOJ-Ust, 501 E. Polk Street, Tampa, FL 33602-3949

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
ust                    + Email/Text: USTPRegion21.MM.ECF@usdoj.gov
                                                                                        Jun 03 2022 22:40:00      Office of the US Trustee, 51 S.W. 1st Ave., Suite
                                                                                                                  1204, Miami, FL 33130-1614
ust                    + Email/Text: USTPRegion03.WL.ECF@USDOJ.GOV
                                                                                        Jun 03 2022 22:40:00      U.S. Trustee, Office of the United States Trustee,
                                                                                                                  J. Caleb Boggs Federal Building, 844 King Street,
                                                                                                                  Suite 2207, Lockbox 35, Wilmington, DE
                                                                                                                  19801-3519
ust                    + Email/Text: ustpregion03.ne.ecf@usdoj.gov
                                                                                        Jun 03 2022 22:40:00      U.S. Trustee., US Dept of Justice, Office of the US
                                                                                                                  Trustee, One Newark Center Ste 2100, Newark, NJ
                                                                                                                  07102-5235
ust                    + Email/Text: ustpregion02.br.ecf@usdoj.gov
                                                                                        Jun 03 2022 22:40:00      United States Trustee, Office of the United States
                                                                                                                  Trustee, U.S. Federal Office Building, 201 Varick
                                                                                                                  Street, Room 1006, New York, NY 10014-7016
ust                    + Email/Text: ustpregion21.at.ecf@usdoj.gov
                                                                                        Jun 03 2022 22:40:00      United States Trustee (cabrera), Office of the
                                                                                                                  United States Trustee, 75 Ted Turner Dr., Suite
                                                                                                                  362, Atlanta, GA 30303-3330
ust                    + Email/Text: ustp.region21.or.ecf@usdoj.gov
                                                                                        Jun 03 2022 22:40:00      United States Trustee (davis), Office of the United
                                                                                                                  States Trustee, George C Young Federal Building,
                                                                                                                  400 West Washington Street, Suite 1100, Orlando,
                                                                                                                  FL 32801-2210
ust                    + Email/Text: ustp.region21.or.ecf@usdoj.gov
                                                                                        Jun 03 2022 22:40:00      United States Trustee - (ennever), Office of the
                                                                                                                  United States Trustee, George C Young Federal
                                                                                                                  Building, 400 West Washington Street, Suite 1100,
                                                                                                                  Orlando, FL 32801-2210
ust                    + Email/Text: ustpregion21.tp.ecf@usdoj.gov
                                                                                        Jun 03 2022 22:40:00      United States Trustee - FTM7/13, Timberlake
                                                                                                                  Annex, Suite 1200, 501 E Polk Street, Tampa, FL
                                                                                                                  33602-3949
ust                    + Email/Text: ustp.region21.or.ecf@usdoj.gov
                                                                                        Jun 03 2022 22:40:00      United States Trustee - JAX 13/7, Office of the
                                                                                                                  United States Trustee, George C Young Federal
                                                                                                                  Building, 400 West Washington Street, Suite 1100,
                                                                                                                  Orlando, FL 32801-2210
ust                    + Email/Text: ustp.region21.or.ecf@usdoj.gov
                                                                                        Jun 03 2022 22:40:00      United States Trustee - ORL, Office of the United
                                                                                                                  States Trustee, George C Young Federal Building,
                                                                                                                  400 West Washington Street, Suite 1100, Orlando,
                                                                                                                  FL 32801-2210
ust                    + Email/Text: ustp.region21.or.ecf@usdoj.gov
                                                                                        Jun 03 2022 22:40:00      United States Trustee - ORL7/13, Office of the
                                                                                                                  United States Trustee, George C Young Federal
                                                                                                                  Building, 400 West Washington Street, Suite 1100,
                                                                                                                  Orlando, FL 32801-2210
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District/off: 113C-0                                                User: admin                                                           Page 2 of 3
Date Rcvd: Jun 03, 2022                                             Form ID: pdf004                                                     Total Noticed: 13
ust                   + Email/Text: ustpregion21.tp.ecf@usdoj.gov
                                                                                   Jun 03 2022 22:40:00     United States Trustee - TPA7/13, Timberlake
                                                                                                            Annex, Suite 1200, 501 E Polk Street, Tampa, FL
                                                                                                            33602-3949

TOTAL: 12


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
ust              *+            United States Trustee - ORL7/13, Office of the United States Trustee, George C Young Federal Building, 400 West Washington
                               Street, Suite 1100, Orlando, FL 32801-2210
ust              *+            United States Trustee - TPA7/13, Timberlake Annex, Suite 1200, 501 E Polk Street, Tampa, FL 33602-3949

TOTAL: 0 Undeliverable, 2 Duplicate, 0 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 05, 2022                                        Signature:           /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 3, 2022 at the address(es) listed below:
Name                             Email Address
Barry P Gruher
                                 on behalf of Interested Party Chad S. Paiva Chapter 7 Trustee bgruher@gjb-law.com,
                                 vlambdin@gjb-law.com;gjbecf@gjb-law.com;cscavone@gjb-law.com;gjbecf@ecf.courtdrive.com;cscavone@gjb-law.com

Eric D Jacobs
                                 on behalf of Interested Party Chad S. Paiva Chapter 7 Trustee ejacobs@gjb-law.com,
                                 btraina@gjb-law.com,chopkins@gjb-law.com,vlambdin@gjb-law.com,btraina@ecf.courtdrive.com,preynolds@gjb-law.com

Kenneth Joseph Catanzarite
                                 on behalf of Defendant NNN Plantations at Haywood 1 LLC kcatanzarite@catanzarite.com

Kenneth Joseph Catanzarite
                                 on behalf of Defendant NNN 1600 Barberry Lane 9 LLC kcatanzarite@catanzarite.com

Kenneth Joseph Catanzarite
                                 on behalf of Attorney Kenneth J Catanzarite kcatanzarite@catanzarite.com

Kenneth Joseph Catanzarite
                                 on behalf of Defendant William B. Gilmer kcatanzarite@catanzarite.com

Kenneth Joseph Catanzarite
                                 on behalf of Defendant Richard Carlson kcatanzarite@catanzarite.com

Kenneth Joseph Catanzarite
                                 on behalf of Creditor NNN 1818 Market Street 13 LLC kcatanzarite@catanzarite.com

Kenneth Joseph Catanzarite
                                 on behalf of Defendant NNN 1600 Barberry Lane 8 LLC kcatanzarite@catanzarite.com

Kenneth Joseph Catanzarite
                                 on behalf of Defendant NNN Plantations at Haywood 2 LLC kcatanzarite@catanzarite.com

Kenneth Joseph Catanzarite
                             Case 19-01291-SMG                  Doc 267          Filed 06/05/22          Page 3 of 7
District/off: 113C-0                                            User: admin                                                       Page 3 of 3
Date Rcvd: Jun 03, 2022                                         Form ID: pdf004                                                 Total Noticed: 13
                               on behalf of Defendant Milton O. Brown kcatanzarite@catanzarite.com

Kenneth Joseph Catanzarite
                               on behalf of Defendant Dennis Dierenfield kcatanzarite@catanzarite.com

Kenneth Joseph Catanzarite
                               on behalf of Defendant NNN Plantations at Haywood 13 LLC kcatanzarite@catanzarite.com

Kenneth Joseph Catanzarite
                               on behalf of Defendant Tyrone Wynfield kcatanzarite@catanzarite.com

Kenneth Joseph Catanzarite
                               on behalf of Defendant NNN Plantations at Haywood 23 LLC kcatanzarite@catanzarite.com

Thomas M. Messana, Esq.
                               on behalf of Plaintiff Sovereign Capital Management Group Inc. tmessana@underwoodmurray.com,
                               dstrand@underwoodmurray.com;tmessana@bellsouth.net

Thomas M. Messana, Esq.
                               on behalf of Plaintiff GCL LLC tmessana@underwoodmurray.com, dstrand@underwoodmurray.com;tmessana@bellsouth.net

Thomas M. Messana, Esq.
                               on behalf of Plaintiff Sovereign Strategic Mortgage Fund LLC tmessana@underwoodmurray.com,
                               dstrand@underwoodmurray.com;tmessana@bellsouth.net

Thomas M. Messana, Esq.
                               on behalf of Plaintiff Todd A. Mikles tmessana@underwoodmurray.com
                               dstrand@underwoodmurray.com;tmessana@bellsouth.net

Thomas M. Messana, Esq.
                               on behalf of Plaintiff Infinity Urban Century LLC tmessana@underwoodmurray.com,
                               dstrand@underwoodmurray.com;tmessana@bellsouth.net

Thomas M. Messana, Esq.
                               on behalf of Plaintiff Etienne Locoh tmessana@underwoodmurray.com dstrand@underwoodmurray.com;tmessana@bellsouth.net

Todd S Frankenthal, Esq
                               on behalf of Defendant Dennis Dierenfield tsflaw01@aol.com ejacobsonattsflaw@gmail.com

Todd S Frankenthal, Esq
                               on behalf of Attorney Kenneth J Catanzarite tsflaw01@aol.com ejacobsonattsflaw@gmail.com

Todd S Frankenthal, Esq
                               on behalf of Defendant Richard Carlson tsflaw01@aol.com ejacobsonattsflaw@gmail.com

Todd S Frankenthal, Esq
                               on behalf of Defendant NNN Plantations at Haywood 1 LLC tsflaw01@aol.com, ejacobsonattsflaw@gmail.com

Todd S Frankenthal, Esq
                               on behalf of Defendant Milton O. Brown tsflaw01@aol.com ejacobsonattsflaw@gmail.com

Todd S Frankenthal, Esq
                               on behalf of Defendant Tyrone Wynfield tsflaw01@aol.com ejacobsonattsflaw@gmail.com

Todd S Frankenthal, Esq
                               on behalf of Defendant NNN 1600 Barberry Lane 8 LLC tsflaw01@aol.com, ejacobsonattsflaw@gmail.com


TOTAL: 28
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         ORDERED in the Southern District of Florida on June 2, 2022.



                                           Scott M. Grossman, Judge
_____________________________________________________________________________
                                           United States Bankruptcy Court



                                  UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                      FORT LAUDERDALE DIVISION


           In Re:                                        Case No. 18-23750-SMG
                                                         (substantively consolidated)

           DAYMARK REALTY ADVISORS,                      Chapter 7
           INC., ET.AL.

                Debtors
           ______________________/
           TODD A. MIKLES, ET.AL.,

                    Plaintiffs,                          Adv. No. 19-1291-SMG

           v.

           RICHARD CARLSON, ET.AL.,

                Defendants
           ___________________________/

                AMENDED AGREED ORDER GRANTING EX PARTE MOTION FOR
                     DISBURSEMENT OF CASH SUPERSEDEAS BOND


                    THIS MATTER came before the court ex parte pursuant to Local Rule
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9013-1(C)(1) upon the Ex Parte Motion For Disbursement Of Cash Supersedeas

Bond (³Motion´)(ECF 255), and the court having reviewed this Motion and the

docket, being advised that the affected parties have consented to the relief

requested in the Motion, and being otherwise fully advised, it is

       ORDERED AND ADJUDGED as follows:



       1.      The Motion is granted.

       2.      The Clerk Of The United States Bankruptcy Court is directed to

disburse from the supersedeas cash bond in the amount of $12,803.18 (Bond

No. 468541) the sum of $ 11,678.84 to Chad S. Paiva, Chapter 7 Trustee. The

clerk¶s check shall be payable to Genovese Joblove & Battista, P.A. Trust

Account and delivered by first class mail to Genovese Joblove & Battista, P.A.,

200 E. Broward Boulevard, Suite 1110, Fort Lauderdale, FL 33301.

       3.      The payment described in paragraph No. 2 above fully satisfies

Kenneth J. Catanzarite¶s obligation to Chad S. Paiva, Chapter 7 Trustee imposed

by the Order Liquidating And Awarding Compensatory Sanctions (ECF

182)(³Sanctions Order´), and releases Catanzarite of any and all liability to Chad

S. Paiva, Chapter 7 Trustee pursuant to the Sanctions Order.

       4.      The Clerk Of The United States Bankruptcy Court is directed to

disburse the balance of Bond No. 468541 plus all accrued interest to Kenneth J.

Catanzarite. The clerk¶s check shall be payable to Law Offices Of Todd S.

Frankenthal Trust Account and be delivered by first class mail to: Law Offices Of




                                          2
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Todd S. Frankenthal, 150 E. Palmetto Park Road, No. 800, Boca Raton, FL

33432.




                                ###




Submitted by:




Todd S. Frankenthal, Esq.
Local Attorney
One E. Broward Blvd.; No. 700
Fort Lauderdale, FL 33301
(954) 356-0464
TSFLaw01@aol.com




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Attorney Frankenthal shall serve copies of this
order by CM/ECF or U.S. Mail, and file a Certificate
Of Service thereof




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